EXHIBIT G
                            LIST OF PARTIES AND ATTORNEYS

                                 Attachment to Civil Cover Sheet

                       Michael Irvin v. Marriott International, Inc., et al.

 Party Name and Party Type Attorney(s)                               Status

 Michael Irvin, Plaintiff          Levi G. McCathern, II             N/A
                                   State Bar No. 00787990
                                   lmccathern@mccathernlaw.com
                                   Scott J. Becker
                                   State Bar No. 90001624
                                   sbecker@mccathernlaw.com
                                   Jesse L. Cromwell
                                   State Bar No. 24073067
                                   jcromwell@mccathernlaw.com
                                   McCathern, PLLC
                                   3710 Rawlins, Suite 1600
                                   Dallas, Texas 75219
                                   Telephone: (214) 741-2662
                                   Facsimile: (214) 741-4717
 Marriott International, Inc.,     Kendall Kelly Hayden              Served on February 13,
 Defendant                         khayden@cozen.com                 2023, but has not answered
                                   State Bar No. 24046197
                                   Cozen O’Connor
                                   1717 Main Street, Suite 3100
                                   Dallas, Texas 75201
                                   Telephone: (214) 462-3000
                                   Facsimile: (214) 462-3299

                                   Nathan D. Chapman
                                   nchapman@kcozlaw.com
                                   Pro hac vice forthcoming
                                   C. Celeste Creswell
                                   ccreswell@kcozlaw.com
                                   Pro hac vice forthcoming
                                   Kabat Chapman & Ozmer LLP
                                   171 17th Street NW, Suite 1550
                                   Atlanta, GA 03063
                                   Telephone: (404) 400-7300
                                   Facsimile: (404) 400-7333




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